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Exhibit D
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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA )
MAPLEY,                      )
                             )                             Case No. CV-20-52-BLG-SPW
                    Plaiutiffs,                  ~ PLAINTIFF CAMILLIA
      vs.                        MAPLEY'S ANSWERS TO
                               ) DEFENDANT WATCHTOWER
WATCHTOWER BIBLE AND TRACT ) BIBLE AND TRACT SOCIETY OF
SOCIETY OF NEW YORK, INC.,     ) NEW YORK, INC.'S FIRST
WATCH TOWER BIBLE AND TRACT) INTERROGATORIES TO
SOCIETY OF PENNSYLVANIA, and ) PLAINTIFF CAMILLA MAPLEY
BRUCE MAPLEY, SR.,             )
                               )
              Defendants,      )
                               )
WATCHTOWERBIBLEANDTRACT)
SOCIETY OF NEW YORK, INC.,     )
              Cross Claimant,  )
                               )
BRUCE MAPLEY, SR.,             )
              Cross Defendant. )
_____________                  )


                        PlaintiffCamillia Mapley's Answers to Defendant
                      Watchtower Bible and Tract Society of New York, Inc. 's
                       First Interrogatories to Plaintiff Camilla Mapley - I
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       INTERROGATORY NO. 6: Please identify all persons who were

eyewitnesses to the abuse you suffered.

       ANSWER: TfllS ANSWER CONTAINS INFORMATION THAT IS

PRIVATE, CONFIDENTIAL, AND SUBJECT TO THE PROTECTIVE ORDER

GOVERNING THE USE AND DISCLOSURE OF SUCH INFORMATION (ECF

DOC. 110, 111 ). Because the abuse at issue was many years ago, and because

emotional trauma caused by sexual abuse impacts the memory of its victims,

Plaintiff is not presently able to state, with certainty, every person who was an

eyewitness. To the best of Plaintiff's recollection, the following people were

witnesses to the abuse:

       •   Bruce Mapley, Sr.
       •   Possibly Tracy Caekaert
       •   Gunner Hain
       •   Rhonda (Hain) Klessens Bell

       INTERROGATORY NO. 7: Please state with particularity all facts that in

any way show that WTNY knew that any person identified in your Answer to

Interrogatory No. 1 had sexually abused a minor prior to his/her sexual abuse of

you.

       ANSWER: THIS ANSWER CONTAINS INFORMATION THAT IS

PRIVATE, CONFIDENTIAL, AND SUBJECT TO THE PROTECTIVE ORDER

GOVERNING THE USE AND DISCLOSURE OF SUCH INFORMATION (ECF

                        PlaintiffCamillia Mapley's Answers to Defendant
                      Watchtower Bible and Tract Society of New York, Inc.'s
                       First Interrogatories to Plaintiff Camilla Mapley - 7
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                                           DECLARATION/VERIFICATION
                     I have reviewed the foregoing Answers to Defendant Watchtower Bible and

            Tract Society of New York, Inc.’s First Set of Interrogatories and I declare under

            penalty of perjury under the law of the United States of America that the foregoing

            are true and correct.


                                   4/15/2022
                     EXECUTED ON _____________________________________.



                                                                       Camillia Michelle Mapley
                                                                       All rights reserved, none waived.




                                          Plaintiff Camillia Mapley’s Answers to Defendant
                                        Watchtower Bible and Tract Society of New York, Inc.’s
                                         First Interrogatories to Plaintiff Camilla Mapley - 12
